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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


DALTON GRANT MILLER,                              §
                                                  §
                 Petitioner,                      §
                                                  §
versus                                            §   CIVIL ACTION NO. 9:24-CV-8
                                                  §
SHERIFF, SHELBY COUNTY,                           §
                                                  §
                 Respondent.                      §

                          ORDER ADOPTING THE MAGISTRATE
                        JUDGE’S REPORT AND RECOMMENDATION

          Petitioner Dalton Grant Miller, a prisoner confined at the Shelby County Jail, proceeding

pro se, filed this Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2241.

          The court referred this matter to the Honorable Christine L. Stetson, United States

Magistrate Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders

of this court. On May 23, 2024, the magistrate judge recommended dismissing the petition

without prejudice for want of prosecution. Proper notice was given to Petitioner at his last known

address. See FED. R. CIV. P. 5(b)(2)(C). To date, the parties have not filed objections to the

report.

          The court received and considered the Report and Recommendation of United States

Magistrate Judge pursuant to such referral, along with the record, pleadings and all available

evidence. After careful review, the court finds that the findings of fact and conclusions of law of

the United States Magistrate Judge are correct.
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                                        ORDER

      Accordingly, the findings of fact and conclusions of law of the magistrate judge are

correct, and the Report and Recommendation of United States Magistrate Judge (#6) is

ADOPTED. A final judgment will be entered in this case in accordance with the magistrate

judge’s recommendation.

       SIGNED at Beaumont, Texas, this 25th day of June, 2024.




                                       ________________________________________
                                                   MARCIA A. CRONE
                                            UNITED STATES DISTRICT JUDGE




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